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    8                      UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
   10
   11 JASON SWOFFORD,                  )     CASE NO. CV 21-1998 MWF (JDEx)
                                       )
   12                  Plaintiff,      )     ORDER RE JURY TRIAL
                                       )
   13        v.                        )     I.     ORDER RE DEADLINES
                                       )
   14   RICHARD HOTTEL, d/b/a          )     II.    ORDER RE TRIAL
        CALIFORNIA COURT               )            PREPARATION
   15   RESURFACING, et al.,           )
                                       )     III.   ORDER GOVERNING
   16                  Defendants.     )            CONDUCT OF ATTORNEYS
                                       )            AND PARTIES
   17                                  )
                                       )     Trial: May 17, 2022
   18   ______________________________ )     Time: 8:30 a.m.
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    1                                              I.
    2                                     DEADLINES
    3    Last Day to Add Parties/Amend                  October 25, 2021
    4    Pleadings
         Non-expert Discovery Cut-off                   December 31, 2021
    5
    6    Expert Disclosure (Initial)                    November 19, 2021
    7
         Expert Disclosure (Rebuttal)                   December 17, 2021
    8
    9    Expert Discovery Cut-off                       January 31, 2022

   10    Last Day to Hear Motions                       February 7, 2022
   11
         Last Day to Conduct ADR Proceeding             February 25, 2022
   12
   13    File Memorandum of Contentions of              April 4, 2022
         Fact and Law, Exhibit and Witness
   14    Lists, Status Report regarding
         settlement, and all Motions in Limine
   15    Lodge Pretrial Conference Order, file          April 11, 2022
   16    agreed set of Jury Instructions and
         Verdict forms, file statement regarding
   17    Disputed Instructions and Verdict
         Forms, and file oppositions
   18    Final Pretrial Conference and Hearing          April 25, 2022, at 11:00 a.m.
         on Motions in Limine
   19
         Trial Date (Est. 4 Days)                       May 17, 2022, at 8:30 a.m.
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    1         A.    PARTIES/PLEADINGS
    2         The Court has established a cut-off date for adding parties or amending
    3 pleadings. All motions to add parties or to amend the pleadings must be noticed to
    4 be heard on or before the cut-off date. All unserved parties will be dismissed at
    5 the time of the pretrial conference pursuant to Local Rule 16-8.1.
    6         B.    DISCOVERY AND DISCOVERY CUT-OFF
    7         1.    Discovery Cut-off: The Court has established a cut-off date for
    8 discovery, including expert discovery, if applicable. This is not the date by which
    9 discovery requests must be served; it is the date by which all discovery, including
   10 all hearings on any related motions, is to be completed.
   11         2.    Discovery Disputes: Counsel are expected to comply with the Federal
   12 Rules of Civil Procedure and all Local Rules concerning discovery. Whenever
   13 possible, the Court expects counsel to resolve discovery problems among
   14 themselves in a courteous, reasonable and professional manner. The Court expects
   15 that counsel will adhere strictly to the Civility and Professionalism Guidelines
   16 (which can be found on the Court’s website under Attorney Information, Attorney
   17 Admissions).
   18         3.    Discovery Motions: Any motion challenging the adequacy of
   19 discovery responses must be filed, served, and calendared sufficiently in advance
   20 of the discovery cut-off date to permit the responses to be obtained before that date
   21 if the motion is granted.
   22         4.    Depositions: All depositions shall commence sufficiently in advance
   23 of the discovery cut-off date to permit their completion and to permit the deposing
   24 party enough time to bring any discovery motions concerning the deposition before
   25 the cut-off date. Given the requirements to “meet and confer” and to give notice,
   26 in most cases a planned motion to compel must be discussed with opposing
   27 counsel at least six weeks before the cut-off.
   28 ///

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    1         5.      Written Discovery: All interrogatories, requests for production of
    2 documents and requests for admissions must be served sufficiently in advance of
    3 the discovery cut-off date to permit the discovering party enough time to challenge
    4 (via motion practice) responses deemed to be deficient.
    5         6.      Expert Discovery: All disclosures must be made in writing. The
    6 parties should begin expert discovery shortly after the initial designation of
    7 experts. The final pretrial conference and trial dates will not be continued merely
    8 because expert discovery is not completed. Failure to comply with these or any
    9 other orders concerning expert discovery may result in the expert being excluded
   10 as a witness.
   11         C.      LAW AND MOTION
   12         1.      The Court has established a cut-off date for the hearing of motions.
   13 All motions must be noticed so that the hearing takes place on or before the motion
   14 cut-off date. Counsel are advised that the Court may close a hearing date once the
   15 number of motions filed exceeds the maximum number of motions that reasonably
   16 can be heard on that date. Counsel should anticipate that a preferred hearing date
   17 may not be available. Therefore, to avoid being unable to file a motion to be heard
   18 by the cut-off date, counsel should file motions sufficiently in advance of the
   19 hearing cut-off date to ensure that a hearing date is available.
   20         2.      Counsel must provide Chambers with conformed Chambers copies of
   21 all documents. Counsel should consult the Court’s website at
   22 www.cacd.uscourts.gov, Judges’ Procedures and Schedules, Hon. Michael W.
   23 Fitzgerald, for further information regarding Chambers copies and motion
   24 procedures.
   25         D.      SETTLEMENT PROCEDURES
   26         Counsel must complete a settlement conference under the Court-Directed
   27 ADR Program no later than the date set by the Court. If the parties desire to
   28 participate in an ADR procedure other than that elected in the Rule 26(f)

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    1 Scheduling Report and Order, they shall file a stipulation with the Court. This
    2 request will not necessarily be granted.
    3         No case will proceed to trial unless all parties, including the principals of all
    4 corporate parties, have appeared personally at a settlement conference.
    5         E.     FINAL PRETRIAL CONFERENCE
    6         A final pretrial conference date has been set pursuant to Rule 16 of the
    7 Federal Rules of Civil Procedure and Local Rule 16-8. Unless excused for good
    8 cause, each party appearing in this action shall be represented at the final pretrial
    9 conference by the lead trial counsel for that party. Counsel should be prepared to
   10 discuss streamlining the trial, including presentation of testimony by deposition
   11 excerpts or summaries, time limits, stipulations as to undisputed facts, and
   12 qualification of experts by admitted resumes.
   13                                             II.
   14                                TRIAL PREPARATION
   15         A.     PRETRIAL DOCUMENTS
   16         1.     All pretrial document copies shall be delivered to the Court “binder-
   17 ready” (three-hole punched on the left side, without blue-backs, and stapled only in
   18 the top left corner).
   19         2.     STRICT COMPLIANCE WITH LOCAL RULE 16 IS REQUIRED.
   20 THIS ORDER SETS FORTH SOME DIFFERENT AND SOME ADDITIONAL
   21 REQUIREMENTS. THIS COURT DOES NOT EXEMPT PRO PER PARTIES
   22 FROM THE REQUIREMENTS OF RULE 16. Carefully prepared memoranda of
   23 contentions of fact and law, witness lists, a joint exhibit list, and a proposed final
   24 pretrial conference order shall be submitted in accordance with the Rules, and the
   25 format of the proposed final pretrial conference order shall conform to the format
   26 set forth in Appendix A to the Local Rules. Failure to comply with these
   27 requirements may result in the final pretrial conference being taken off-calendar or
   28 continued, or in other sanctions.

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    1         3.    The filing schedule for pretrial documents is as follows.
    2               a.     At least 21 days before final pretrial conference:
    3                      •     Memorandum of contentions of fact and law
    4                      •     Witness lists
    5                      •     Joint exhibit list
    6                      •     Motions in limine
    7               b.     At least 14 days before final pretrial conference:
    8                      •     Proposed final pretrial conference order
    9                      •     Proposed jury instructions
   10                      •     Proposed verdict forms
   11                      •     Statement of the case
   12                      •     Proposed additional voir dire questions, if desired
   13                      •     Oppositions to motions in limine
   14               c.     At least 7 days before trial:
   15                      •     Trial briefs, if desired
   16         4.    In addition to the requirements of Local Rule 16, the witness lists
   17 must include a brief description (one or two paragraphs) of the testimony and a
   18 time estimate for both direct and cross-examination (separately stated).
   19         B.    MOTIONS IN LIMINE
   20         Each party is limited to five (5) motions in limine, unless the Court grants
   21 leave to file additional motions. All motions and oppositions are limited to ten
   22 (10) pages in length. All motions in limine must be filed at least three weeks
   23 before the final pretrial conference; oppositions must be filed at least two weeks
   24 before the final pretrial conference; reply briefs will not be accepted. Counsel are
   25 to meet and confer with opposing counsel to determine whether opposing counsel
   26 intend to introduce the disputed evidence and to attempt to reach an agreement that
   27 would obviate the motion. The Court will rule on motions in limine at the final
   28 pretrial conference. Motions in limine should address specific issues (e.g., not “to

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    1 exclude all hearsay”). Motions in limine should not be disguised motions for
    2 summary adjudication of issues.
    3         C.     JURY INSTRUCTIONS, STATEMENT OF THE CASE, AND VOIR
    4                DIRE
    5         1.     Pursuant to Local Rule 16-2, lead trial counsel for each party are
    6 required to meet and confer in person. The Court expects strict compliance with
    7 Local Rule 16-2. Fourteen days before the Local Rule 16-2 meeting, the parties
    8 shall exchange their respective proposed jury instructions and special verdict
    9 forms. Ten days prior to the Local Rule 16-2 meeting, each party shall serve
   10 objections to the other’s instructions and verdict forms. Before or at the Rule 16-2
   11 meeting, counsel are ordered to meet and confer and attempt to come to agreement
   12 on the proposed jury instructions and verdict forms.
   13         2.     At the time of filing the proposed final pretrial conference order,
   14 counsel shall file with the Court a JOINT set of jury instructions on which there is
   15 agreement. All blanks in standard forms should be filled in. The Court expects
   16 counsel to agree on the substantial majority of jury instructions, particularly when
   17 pattern or model instructions provide a statement of applicable law. If one party
   18 fails to comply with the provisions of this section, the other party must file a
   19 unilateral set of jury instructions.
   20         3.     At the same time, each party shall file its proposed jury instructions
   21 that are objected to by any other party. Each disputed instruction must have
   22 attached a short statement (one or two paragraphs), including points and
   23 authorities, in support of the instruction and a brief statement, including points and
   24 authorities, in support of any objections. If applicable, a proposed alternative
   25 instruction must be provided.
   26         4.     When the Manual of Model Jury Instructions for the Ninth Circuit
   27 provides an applicable jury instruction, the parties should submit the most recent
   28 version, modified and supplemented to fit the circumstances of this case. Where

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    1 California law applies, counsel should use the current edition of the Judicial
    2 Council of California Civil Jury Instructions (“CACI”). If neither is applicable,
    3 counsel should consult the current edition of O’Malley, et al., Federal Jury
    4 Practice and Instructions. Each requested instruction shall (a) cite the authority or
    5 source of the instruction, (b) be set forth in full, (c) be on a separate page, (d) be
    6 numbered, (e) cover only one subject or principle of law, and (f) not repeat
    7 principles of law contained in any other requested instruction.
    8          Counsel may submit alternatives to these instructions only if counsel has a
    9 reasoned argument that they do not properly state the law or they are incomplete.
   10          5.    Counsel must provide the documents described in paragraphs 2 and 3
   11 to the Chambers email box in Word or WordPerfect 9 (or above) format at the time
   12 they file their proposed jury instructions.
   13          6.    The Court will send one or more copies of the instructions into the
   14 jury room for the jury’s use during deliberations. Therefore, in addition to the
   15 copies described above, the Chambers email version must contain a “clean” set of
   16 jury instructions, containing only the text of the instruction (one per page) with the
   17 caption “Instruction No. __” at the top (eliminating titles, supporting authority,
   18 etc.).
   19          7.    Counsel must provide an index of all instructions submitted, which
   20 must include the following:
   21                a.     the number of the instruction;
   22                b.     the title of the instruction;
   23                c.     the source of the instruction and any relevant case citations; and
   24                d.     the page number of the instruction.
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    1 For example:
    2 Number         Title                             Source              Page Number
    3 1              Trademark-Defined                 9th Cir. 8.5.1             1
    4                (15.U.S.C. § 1127)
    5
    6         8.     During the trial and before argument, the Court will meet with counsel
    7 and settle the instructions, and counsel will have an opportunity to make a further
    8 record concerning their objections.
    9         9.     At the time of filing the proposed final pretrial conference order,
   10 counsel should file a jointly prepared one- or two-page statement of the case to be
   11 read by the Court to the prospective panel of jurors before commencement of voir
   12 dire.
   13         10.    The Court will conduct the voir dire. The Court provides a list of
   14 basic questions, and may provide a list of additional questions to jurors before voir
   15 dire. (This is not a questionnaire to be completed by jurors.) Counsel may, but are
   16 not required to, file and submit (electronically to the Chambers email box and in
   17 paper form) a list of proposed case-specific voir dire questions at the time they file
   18 the proposed final pretrial conference order.
   19         11.    In most cases the Court will conduct its initial voir dire of all
   20 prospective jurors. Generally the Court will select eight jurors.
   21         12.    Each side will have three peremptory challenges. Following the
   22 exercise of all peremptory challenges, the eight jurors in the lowest numbered seats
   23 will be the jury. The Court will not necessarily accept a stipulation to a challenge
   24 for cause. If one or more challenges for cause are accepted, and all six peremptory
   25 challenges are exercised, the Court may decide to proceed with six or seven jurors.
   26         D.     TRIAL EXHIBITS
   27         1.     Exhibits must be placed in three-ring binders indexed by exhibit
   28 number with tabs or dividers on the right side. Counsel shall submit to the Court

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     1 an original and copy of the binders. The spine portion of the binder shall indicate
     2 the volume number and contain an index of each exhibit included in the volume.
     3         2.     The Court requires that the following be submitted to the Courtroom
     4 Deputy Clerk (“CRD”) on the first day of trial:
     5                a.    One (set of) binder(s) of original exhibits with the Court’s
     6 exhibit tags, yellow tags for plaintiff and blue tags for defendant, stapled to the
     7 front of the exhibit on the upper right-hand corner with the case number, case
     8 name, and exhibit number placed on each tag.
     9                b.    Two (sets of) binders with a copy of each exhibit tabbed with
    10 numbers as described above for use by the Court. (Exhibit tags are not necessary
    11 on these copies.)
    12                c.    Three copies of the party’s (or joint) witness list in the order in
    13 which the witnesses may be called to testify.
    14                d.    Three copies of the joint exhibit list in the form specified in
    15 Local Rule 16-5 (Civil), which shall also be sent in Word or WordPerfect format to
    16 the Chambers email box no later than noon on the Monday before trial.
    17                e.    All of the exhibits (except those to be used for impeachment
    18 only), with official exhibit tags attached and bearing the same number shown on
    19 the exhibit list. Exhibit tags may be obtained from the receptionist in the Public
    20 Intake Section, located on the Main Street level of the courthouse at 312 North
    21 Spring Street, Room G-19. Digital exhibit tags are also now available on the
    22 Court's website under Court Forms > General Forms > Form G-14A (Plaintiff) and
    23 G-14B (Defendant). Digital exhibit tags may be used in place of the tags obtained
    24 from the Clerk's Office.
    25         Exhibits shall be numbered 1, 2, 3, etc., NOT 1.1, 1.2, etc. The defense
    26 exhibit numbers shall not duplicate plaintiff’s numbers. If a “blow-up” is an
    27 enlargement of an existing exhibit, it shall be designated with the number of the
    28 original exhibit followed by an “A.” These items (and the items listed in d and e

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     1 below) shall be provided on the first day of trial.
     2                f.     The binder of original exhibits with the Court’s exhibit tags,
     3 yellow tags for plaintiff and blue tags for defendant, stapled to the front of the
     4 exhibit at the upper right-hand corner with the case number, case name, and exhibit
     5 number placed on each tag.
     6                g.     A three-ring binder containing a copy of all exhibits that can be
     7 reproduced, and a copy of the witness list. Each exhibit shall be tabbed with the
     8 exhibit number for easy referral.
     9                h.     A three-ring binder containing a copy of all exhibits for use by
    10 witnesses.
    11         3.     A copy of the exhibit list with all admitted exhibits will be given to
    12 the jury during deliberations. Counsel shall review and approve the exhibit list with
    13 the CRD before the list is given to the jury.
    14         4.     Where a significant number of exhibits will be admitted, the Court
    15 encourages counsel, preferably by agreement, to consider ways in which testimony
    16 about exhibits may be made intelligible to the jury while it is being presented.
    17 Counsel should consider such devices as overhead projectors, jury notebooks for
    18 admitted exhibits or enlargements of important exhibits. [The Court has an Elmo
    19 and other equipment available for use during trial.] Information concerning
    20 training on the use of electronic equipment is available. Details are posted on the
    21 Court’s website. To make reservations for training, call 213-894-3061. The Court
    22 does not permit exhibits to be “published” by passing them up and down the jury
    23 box. Exhibits may be displayed briefly using the screens in the courtroom, unless
    24 the process becomes too time-consuming.
    25         5.     All counsel are to meet not later than ten days before trial and to
    26 stipulate, so far as is possible, to foundation, to waiver of the best evidence rule,
    27 and to those exhibits that may be received into evidence at the start of the trial. The
    28 exhibits to be so received will be noted on the Court’s copy of the exhibit list.

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     1         E.     COURT REPORTER
     2         Any party requesting special court reporter services for any hearing (i.e., real
     3 time transmission, daily transcripts) shall notify the reporter at least two weeks
     4 before the hearing date.
     5         F.     JURY TRIAL
     6         1.     On the first day of trial, court will commence at 8:30 a.m. and
     7 conclude at approximately 4:30 p.m. with a one-hour lunch break. On the first day
     8 of trial, counsel must appear at 8:30 a.m. to discuss preliminary matters with the
     9 Court. After the first day of trial, trial days are Tuesday through Friday from 8:30
    10 a.m. to approximately 2:10 p.m. with two twenty-minute breaks.
    11         2.     On the first day of trial, the jury panel will be called when the Court is
    12 satisfied that the matter is ready for trial. Jury selection usually takes only a few
    13 hours. Counsel should be prepared to proceed with opening statements and
    14 witness examination immediately after jury selection.
    15         3.     Counsel shall refer to jurors by number only, not by name.
    16                                            III.
    17                   CONDUCT OF ATTORNEYS AND PARTIES
    18         A.     OPENING STATEMENTS, EXAMINING WITNESSES, AND
    19                SUMMATION
    20         1.     Counsel must use the lectern.
    21         2.     Counsel must not consume time by writing out words, drawing charts
    22 or diagrams, etc. Counsel may prepare such materials in advance.
    23         B.     OBJECTIONS TO QUESTIONS
    24         1.     Counsel must not use objections for the purpose of making a speech,
    25 recapitulating testimony, or attempting to guide the witness.
    26         2.     When objecting, counsel must rise to state the objection and state only
    27 that counsel objects and the legal ground of objection. If counsel wishes to argue
    28 an objection further, counsel must ask for permission to do so.

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     1         C.    GENERAL DECORUM
     2         1.    Counsel should not approach the CRD or the witness box without
     3 specific permission and must return to the lectern when the purpose for
     4 approaching has been accomplished.
     5         2.    Counsel should rise when addressing the Court, and when the Court or
     6 the jury enters or leaves the courtroom, unless directed otherwise.
     7         3.    Counsel should address all remarks to the Court. Counsel are not to
     8 address the CRD, the court reporter, persons in the audience, or opposing counsel.
     9 If counsel wish to speak with opposing counsel, counsel must ask permission to do
    10 so. Any request for the re-reading of questions or answers shall be addressed to
    11 the Court. Requests may not be granted.
    12         4.    Counsel should not address or refer to witnesses or parties by first
    13 names alone, with the exception of witnesses under 14 years old.
    14         5.    Counsel must not offer a stipulation unless counsel have conferred
    15 with opposing counsel and have verified that the stipulation will be acceptable.
    16         6.    While Court is in session, counsel must not leave counsel table to
    17 confer with any person in the back of the courtroom unless permission has been
    18 granted in advance.
    19         7.    Counsel shall not make facial expressions, nod, or shake their heads,
    20 comment, or otherwise exhibit in any way any agreement, disagreement, or other
    21 opinion or belief concerning the testimony of a witness. Counsel shall admonish
    22 their clients and witnesses not to engage in such conduct.
    23         8.    Counsel should not talk to jurors at all, and should not talk to co-
    24 counsel, opposing counsel, witnesses, or clients where the conversation can be
    25 overheard by jurors. Each counsel should admonish counsel’s own clients and
    26 witnesses to avoid such conduct.
    27         9.    Where a party has more than one lawyer, only one may conduct the
    28 direct or cross-examination of a particular witness, or make objections as to that

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     1 witness.
     2         D.     PROMPTNESS OF COUNSEL AND WITNESSES
     3         1.     Promptness is expected from counsel and witnesses. Once counsel are
     4 engaged in trial, this trial is counsel’s first priority. The Court will not delay the
     5 trial or inconvenience jurors.
     6         2.     If a witness was on the stand at a recess or adjournment, counsel who
     7 called the witness shall ensure the witness is back on the stand and ready to
     8 proceed when trial resumes.
     9         3.     Counsel must notify the CRD in advance if any witness should be
    10 accommodated based on a disability or for other reasons.
    11         4.     No presenting party may be without witnesses. If a party’s remaining
    12 witnesses are not immediately available and there is more than a brief delay, the
    13 Court may deem that party to have rested.
    14         5.     The Court attempts to cooperate with professional witnesses and will,
    15 except in extraordinary circumstances, accommodate them by permitting them to
    16 be called out of sequence. Counsel must anticipate any such possibility and
    17 discuss it with opposing counsel. If there is an objection, counsel must confer with
    18 the Court in advance.
    19         E.     EXHIBITS
    20         1.     Each counsel should keep counsel’s own list of exhibits and should
    21 note when each has been admitted into evidence.
    22         2.     Each counsel is responsible for any exhibits that counsel secures from
    23 the CRD and must return them before leaving the courtroom at the end of the
    24 session.
    25         3.     An exhibit not previously marked should, at the time of its first
    26 mention, be accompanied by a request that it be marked for identification. Counsel
    27 must show a new exhibit to opposing counsel before the court session in which it is
    28 mentioned.

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     1         4.    Counsel are to advise the CRD of any agreements with respect to the
     2 proposed exhibits and as to those exhibits that may be received without further
     3 motion to admit.
     4         5.    When referring to an exhibit, counsel should refer to its exhibit
     5 number. Witnesses should be asked to do the same.
     6         6.    Counsel must not ask witnesses to draw charts or diagrams nor ask the
     7 Court’s permission for a witness to do so. Any graphic aids must be fully prepared
     8 before the court session starts.
     9         F.    DEPOSITIONS
    10         1.    All depositions to be used at trial, either as evidence or for
    11 impeachment, must be lodged with the CRD on the first day of trial or such earlier
    12 date as the Court may order. Counsel should verify with the CRD that the relevant
    13 deposition is in the CRD’s possession.
    14         2.    In using depositions of an adverse party for impeachment, either one
    15 of the following procedures may be adopted:
    16               a.     If counsel wishes to read the questions and answers as alleged
    17 impeachment and ask the witness no further questions on that subject, counsel shall
    18 first state the page and line where the reading begins and the page and line where
    19 the reading ends, and allow time for any objection. Counsel may then read the
    20 portions of the deposition into the record.
    21               b.     If counsel wishes to ask the witness further questions on the
    22 subject matter, the deposition shall be placed in front of the witness and the witness
    23 told to read the relevant pages and lines silently. Then counsel may either ask the
    24 witness further questions on the matter and thereafter read the quotations, or read
    25 the quotations and thereafter ask further questions. Counsel should have an extra
    26 copy of the deposition for this purpose.
    27         3.    Where a witness is absent and the witness’s testimony is offered by
    28 deposition, counsel may (a) have a reader occupy the witness chair and read the

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     1 testimony of the witness while the examining lawyer asks the questions, or (b)
     2 have counsel read both the questions and answers.
     3         G.     USING NUMEROUS ANSWERS TO INTERROGATORIES AND
     4                REQUESTS FOR ADMISSIONS
     5         Whenever counsel expects to offer a group of answers to interrogatories or
     6 requests for admissions extracted from one or more lengthy documents, counsel
     7 should prepare a new document listing each question and answer and identifying
     8 the document from which it has been extracted. Copies of this new document
     9 should be given to the Court and opposing counsel.
    10         H.     ADVANCE NOTICE OF UNUSUAL OR DIFFICULT ISSUES
    11         If any counsel have reason to anticipate that a difficult question of law or
    12 evidence will necessitate legal argument requiring research or briefing, counsel
    13 must give the Court advance notice. Counsel are directed to notify the CRD at the
    14 day’s adjournment if an unexpected legal issue arises that could not have been
    15 foreseen and addressed by a motion in limine. See Fed. R. Evid. 103. Counsel
    16 must also advise the CRD at the end of each trial day of any issues that must be
    17 addressed outside the presence of the jury, so that there is no interruption of the
    18 trial. THE COURT WILL NOT KEEP JURORS WAITING.
    19
    20         N.B. “COUNSEL,” AS USED IN THIS ORDER, INCLUDES PARTIES
    21 APPEARING IN PROPRIA PERSONA.
    22
    23         IT IS SO ORDERED.
    24
    25 Dated: June 22, 2021                     __________________________________
                                                MICHAEL W. FITZGERALD
    26                                          United States District Judge
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     6                      UNITED STATES DISTRICT COURT
     7                     CENTRAL DISTRICT OF CALIFORNIA
     8
     9                                  )         CASE NO. CV          -MWF( x)
                                        )
    10                  Plaintiff(s),   )         EXHIBIT LIST
                                        )
    11        v.                        )             SAMPLE FORMAT
                                        )
    12                                  )
                                        )
    13                  Defendant(s).   )
         ______________________________ )
    14
    15   EX. No.   DESCRIPTION                 IDENTIFIED        ADMITTED
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     8                      UNITED STATES DISTRICT COURT
     9                     CENTRAL DISTRICT OF CALIFORNIA
    10
    11                                  )         CASE NO. CV               -MWF( x)
                                        )
    12                  Plaintiff(s),   )         WITNESS LIST
                                        )
    13        v.                        )              SAMPLE FORMAT
                                        )
    14                                  )
                                        )
    15                  Defendant(s).   )
         ______________________________ )
    16
    17                                               DATES OF TESTIMONY
            WITNESSES FOR PLAINTIFF
    18
                                               (to be filled in during trial)
    19
    20
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    22     WITNESSES FOR DEFENDANT
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